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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                           Case No. 6:16-cr-180-Orl-37GJK

JAMES LONG



                                          ORDER

       Before the Court is Defendant James Long’s motion for compassionate release due

to the COVID-19 pandemic. (Doc. 97 (“Motion”).) The Government opposes. (Doc. 104.)

On review, the Motion is denied.

                                    I.     BACKGROUND

       Mr. Long pled guilty to conspiracy to commit money laundering in relation to a

“pill mill”—a clinic selling oxycodone for no medical purpose. (Docs. 3, 34; Doc. 90, pp.

34:23–35:3.) On February 2, 2017, he was sentenced to 180 months’ imprisonment and his

projected release date is December 24, 2029. (Doc. 66; Doc. 103, p. 2.) He is incarcerated at

FCI Coleman Low which is currently suffering a COVID-19 outbreak. 1 (Doc. 103, p. 2;

Doc. 104, p. 15.)

       Mr. Long is 48 years old, with a history of mitral valve prolapse and mitral

regurgitation. (Doc. 103, p. 6; Doc. 104, p. 1.) He had skin cancer, suffers from a respiratory

condition that causes him to contract bronchitis annually, and has a body mass index of




       1  Fed.   Bureau    of     Prisons,             COVID-19        Coronavirus      Cases,
https://www.bop.gov/coronavirus/index.jsp.
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29.8. (Doc. 103, pp. 6–7, 7 n.4.) Mr. Long requested compassionate release from the

Warden of his facility, which was denied. (Docs. 97-1, 104-2.) Arguing his conditions put

him at an increased risk to COVID-19 and that he needs to be home to care for his sick

wife and children, Mr. Long asks the court for compassionate release. (Docs. 97.) In

response to his Motion, the Court appointed a Federal Public Defender to represent him.

(Doc. 99.) Appointed counsel then supplemented Mr. Long’s Motion. (Doc. 103.) With

the Government’s response and Mr. Long’s reply (Docs. 104, 109), the matter is ripe.

                                      II.     ANALYSIS

       The statute governing compassionate release, 18 U.S.C. § 3582(c)(1)(A), as

amended by the First Step Act, prescribes the limited circumstances in which a court may

modify a term of imprisonment. A court may grant a request for compassionate release

if it finds: (1) the defendant has exhausted his administrative remedies with the Bureau

of Prisons (“BOP”); (2) the relevant § 3553(a) factors support release; (3) extraordinary

and compelling reasons warrant compassionate release; and (4) the defendant is not a

danger to the community.         See 18 U.S.C. § 3582(c)(1)(A)(i); U.S.S.G. § 1B1.13. The

Sentencing Commission has listed four circumstances that qualify as “extraordinary and

compelling” under § 3582(c)(1)(A): (A) a serious medical condition; (B) advanced age and

deteriorating health; (C) family circumstances; or (D) an extraordinary and compelling

reason other than, or in combination with, (A)-(C), as determined by the Director of the

BOP. See U.S.S.G. § 1B1.13, cmt. n.1; see also Klatch v. United States, No. 8:17-cr-135-T-27JSS,

2020 WL 1694299, at *2 (M.D. Fla. Apr. 7, 2020). The defendant must show relief is

warranted. See United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013).
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       First, the Court notes it may proceed on the merits as the administrative

requirement—the lapse of 30 days from the Warden’s receipt of Mr. Long’s request—has

been met, as the Government concedes. (Docs. 103-1, 104-2; Doc. 104, pp. 10–11.)

       But Mr. Long has not shown an “extraordinary and compelling” reason for his

release. See 18 U.S.C. § 3582(c)(1)(A)(i). His medical conditions are not listed by the

Centers for Disease Control and Prevention as risk factors for COVID-19, a point he

concedes. 2 (Doc. 103, p. 7 nn. 4–5.) And “[g]eneral concerns about possible exposure to

COVID-19 do not meet the criteria for extraordinary and compelling reasons for a

reduction in sentence . . . .” United States v. Eberhart, No. 13-cr-00313-PJH-1, 2020 WL

1450745, at *2 (N.D. Cal. Mar. 25, 2020); see also United States v. Raia, 954 F.3d 594, 597 (3d

Cir. 2020).

       As to caring for his wife and children, “family circumstances” can constitute

extraordinary and compelling reasons, but only on “[t]he death or incapacitation of the

caregiver of the defendant’s minor child or minor children” or “[t]he incapacitation of the

defendant’s spouse or registered partner when the defendant would be the only available

caregiver.” U.S.S.G. § 1B1.13, cmt. n.1(C). Mr. Long says his wife has stomach ulcers and

has been suffering from depression since Mr. Long left. (Doc. 97, p. 6.) And his wife has

no one to watch their two children, who are homeschooled because of COVID-19. (Id.)

But Mr. Long has not shown his wife is incapacitated—his wife still works and while Mr.




       2See Ctrs. Disease Control & Prevention, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last accessed Oct. 9, 2020).
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Long’s incarceration is undoubtedly difficult on his family, they have managed for over

three years, and this circumstance is shared by many incarcerated persons. (See id.; Doc.

104, p. 16.)

       The Court is mindful of the concerns of incarcerated individuals during the

COVID-19 pandemic given the significant health risks to inmates confined in correctional

facilities, especially those with any underlying medical conditions. The Court also notes

the BOP’s extensive and aggressive efforts to mitigate the spread of COVID-19 and

maintain the safety and security of BOP institutions. (See Doc. 104, pp. 3–6); see also Fed.

Bureau           of           Prisons,          COVID-19              Action           Plan:

Phase Five (Mar. 31, 2020), https://www.bop.gov/resources/news/20200331_covid19_a

ction_plan_5.jsp. Given these efforts, Mr. Long has not shown release is warranted.

                                   III.   CONCLUSION

       It is ORDERED AND ADJUDGED that Defendant James Long’s Emergency

Motion to Reduce Sentence or for Compassionate Release (Doc. 97) is DENIED.

       DONE AND ORDERED in Chambers in Orlando, Florida, on October 20, 2020.
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Copies to:
Counsel of Record
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